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1                                                                    Judge Coughenour
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7                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
8                                     AT SEATTLE
9
     UNITED STATES OF AMERICA,                  )
10                                              )      NO.    CR06-296 JCC
                          Plaintiff,            )
11                                              )      ORDER FOR TRIAL
                   v.                           )      CONTINUANCE
12                                              )
     HAO QUANG TRAN,                            )
13                                              )
                          Defendant.            )
14                                                     )
15

16           This matter having come before the undersigned Court by an unopposed motion of
17   counsel (Dkt. No. 185), the United States through the United States Attorney for the
18   Western District of Washington, Susan M. Roe, Assistant United States Attorney for said
19   district, the Court being fully advised in the matter, now finds that
20           The trial was scheduled for February 5, 2007. The defendant previously has
21   waived his speedy trial rights until February 28, 2007 (Dkt. No. 146), which is beyond
22   the new trial date of February 26, 2007. The motion is made because the parties had
23   serious settlement discussions, including a settlement conference which resulted in a plea
24   agreement. The defendant decided to exercise his right to trial at the time of the
25   scheduled plea which was late on February 1, 2007. Counsel have been diligent in
26   addressing this matter but the failed plea combined with the unavoidable absence of at
27   least one of the government’s necessary witnesses render a February 5, 2007, trial date
28   unfeasible. The Court finds that exclusion of additional time as to Defendant Tran under

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1    18 U.S.C. § 3161(h)(8)(B)(iv) is appropriate, taking into account the exercise of due
2    diligence.
3            The Court is aware that time limitations for trial and speedy trial concerns are set
4    forth in Title 18, United States Code, Section 3161.
5            Section 3161(h) outlines the periods of excludable time, including:
6                   (8)(A) Any period of delay resulting from a continuance
                    granted by any judge on his own motion or at the request of
7                   the defendant or his counsel or at the request of the attorney
                    for the Government, if the judge granted such continuance on
8                   the basis of his findings that the ends of justice served by
                    taking such action outweigh the best interest of the public and
9                   the defendant in a speedy trial. No such period of delay
                    resulting from a continuance granted by the court in
10                  accordance with this paragraph shall be excludable under this
                    subsection unless the court sets forth, in the record of the
11                  case, either orally or in writing, its reasons for finding that the
                    ends of justice served by the granting of such continuance
12                  outweigh the best interests of the public and the defendant in
                    a speedy trial.
13

14           In this matter, the Court finds that further time is reasonable and necessary and is
15   with the speedy trial time period. The Court further finds that the ends of justice served
16   by taking such action outweigh the best interest of the public and Defendant Tran in a
17   speedy trial, within the meaning of 18 U.S.C. § 3161(h)(8)(A). The proposed
18   continuance of Defendant Tran’s trial does not appear to prejudice any party. This case
19   has few civilians witnesses and no known victims, therefore the rights of victims to a
20   speedy trial are not in effect. Therefore, the trial date is continued from February 5, 2007
21   until February 26, 2007. The time between the date of this Order and the new trial date
22   shall be excludable time under the Speedy Trial Act pursuant to 18 U.S.C. §§
23   3161(h)(8)(A) and 3161(h)(8)(B)(iv) as to Defendant Tran.
             Dated this 2nd day of February, 2007.

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26                                                       John C. Coughenour
                                                         United States District Judge
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